              Case 11-10391-leb        Doc 213      Entered 04/07/15 14:10:50          Page 1 of 2



1    David A. Riggi, Esq.
2
     5550 Painted Mirage Rd. Suite 120
     Las Vegas, NV 89149
3    Phone: (702) 463-7777
     Fax: (888) 306-7157
4    E-mail: riggilaw@gmail.com
5
     Attorney for the Debtors

6
                               UNITED STATES BANKRUPTCY COURT
7
                                      DISTRICT OF NEVADA
8

9    In re:                                             )   Case No.: 11-10391-LED
                                                        )
10    JOHN E. HARNEY and                                )
                                                        )   Chapter 11
     AIMEE M. HARNEY,
11                                                      )
                                                        )   DATE: May 5, 2015
12                                Debtors.              )   TIME: 9:30 a.m.
                                                        )
13

14
                    MOTION TO ADMINISTRATIVELY CLOSE CHAPTER 11 CASE
15
                    John E. Harney and Aimee M. Harney, (hereinafter, “Debtors”), by and through their attorney
16

17
     of record, David A. Riggi, Esq., hereby file this Motion to Administratively Close Chapter 11 Case (hereinafter,

18   “Motion”) pursuant to 11 U.S.C. § 350 and Local Rule of Bankruptcy Procedure Rule 3022.1. The proposed

19   Order Administratively Closing Individual Chapter 11 Case is attached hereto as Exhibit “A”.
20
                    DATED this 2nd day of April, 2015.
21
     Respectfully submitted,
22
     /s/ David A. Riggi
23
     David A. Riggi, Esq.
24   NV Bar No. 4727
     5550 Painted Mirage Rd. Suite 120
25   Las Vegas, NV 89149
     Ph: 1-702-463-7777
26
     Fax: 1- 888-306-7157
27   E-mail: RiggiLaw@gmail.com
     Attorney for the Debtors
28


                                                        1
             Case 11-10391-leb          Doc 213      Entered 04/07/15 14:10:50            Page 2 of 2



1                              MEMORANDUM OF POINTS AND AUTHORITIES
2
                    Local Rule of Bankruptcy Procedure Rule 3022.1(e) states: “If the debtor proposes to close the
3
     case before plan payments have been completed, and intends to reopen the case after plan completion to obtain
4

5
     a discharge, the debtor shall file a motion to close the case and include in that motion the debtor’s intent to

6    reopen . . . .” Bankruptcy Code section 350(a) states: “After an estate is fully administered and the court has

7    discharged the trustee, the court shall close the case.” Although the Debtors are not seeking a final closing under
8
     this section, the authority to do an administrative closing is still within the purview of this provision. The
9
     Debtors’ Plan of Reorganization was confirmed on October 7, 2013. The Debtors intend to reopen the case for
10
     a final decree. The case has been fully administered and the Court can enter an order closing the case. The
11

12   Debtors have complied with all U.S. Trustee reporting requirements and fees. There are no pending contested

13   matters or adversary proceedings. The claims have all been paid or will be paid.
14
                    Accordingly, Debtors request that this Court grant this Motion to Administratively Close
15
     Chapter 11 Case.
16
                    DATED this 2nd day of April, 2015.
17

18   Respectfully submitted,

19   /s/ David A. Riggi
     David A. Riggi, Esq.
20   NV Bar No. 4727
21   5550 Painted Mirage Rd. Suite 120
     Las Vegas, NV 89149
22   Ph: 1-702-463-7777
     Fax: 1- 888-306-7157
23   E-mail: RiggiLaw@gmail.com
24
     Attorney for the Debtors

25

26

27

28


                                                          2
